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United States District Court

 

AO 91 (Rev. 11/11) Criminal Complaint Southern District Of Texas
UNITED STATES DISTRICT COURT — ju 032019
for the

Southern District of Texas David J. Bradley, Clerk

 

 

 

United States of America )
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Manuel SEPULVEDA, YOB: 1977 (USC) case No. M | |
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Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 07/02/2019 in the county of Starr in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
31 USC 5332 (a)(1) Bulk Cash Smuggling Into or Out of the United States

This criminal complaint is based on these facts:

(See Attachment I).

CO Continued on the attached sheet. /, fo ( f

Complainant’s signature

 

Christopher Donahue, DEA Special Agent

Printed name and title

 

Sworn to before me and signed in my presence.

‘ Judge's signature
City and state: McAllen, Texas J. Sgott Hacker, U.S. Magistrate Judge
LH

/ Printed name and title
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ATTACHMENT 1

. On July 02, 2019, during the morning hours, U.S. Border Patrol Agents (BPA) and Texas
DPS Troopers established surveillance in the area of Midway Road, Rio Grande City,
Texas. ,

. At approximately 9:30 a.m., agents observed a white Ford F-250 travel to and then stop
in an area approximately 15 yards from Rio Grande River in Rio Grande City, Texas.
The Rio Grande River serves as the International Border between the United States and
Mexico. Soon thereafter the Border Patrol Agent observed a Hispanic male walk from a
brushy area along the bank of the Rio Grande River and approach the parked Ford F-250.
Moments later, the Border Patrol Agent observed the Hispanic male walking away from
the Ford F-250 carrying a large bundle, consistent with narcotics or bulk drug proceeds,
over his head. The Border Patrol Agent then observed the Hispanic male subject walking
towards Rio Grande River which was approximately 15 yards away. The Border Patrol
Agent then approached the Hispanic male carrying the bundle and identified himself as
law enforcement. The Hispanic male subject then dropped the bundle in the area of the
Ford F-250 and ran south towards the Rio Grande River, eventually absconding into
Mexico. At the same time, the Border Patrol Agent observed the Ford F-250 depart the
area and travel north along a farm road. Agents subsequently located four (4) large
bundles containing U.S. currency in the immediate area of where the Ford F-250 was
parked and where the Hispanic male subject dropped the bundle. Agents subsequently
followed the tire tracks of the Ford F-250 and after a few minutes, located the same white
Ford F-250, parked in nearby farm field. Agents subsequently observed the driver of the
Ford F-250 standing outside of Ford F-250. The driver of Ford F-250 was identified as
Manuel SEPULVEDA (hereafter, SEPULVEDA). Upon being detained by agents and
prior to being Mirandized by agents, SEPULVEDA stated, “They caught me red-handed.
it was me. I’m not going to run.”

. On this same date, agents processed the four (4) bundles and determined that the bundles
contained numerous smaller bundles of U.S. currency.

. On July 03, 2019, the U.S. currency was removed from the bundles and counted. The
total amount of U.S. currency in the four bundles was $1,487,005.00.
